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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

___________________________________________
                                           )
WAEL MUHAMMAD BAZZI                        )
                                           )
                        Plaintiff,         )
                                           )               Civil Action No. 1:19-cv-01940 (TNM)
      v.                                   )
                                           )
ANDREA M. GACKI, et al.                    )
                                           )
                        Defendants.        )
___________________________________________)


              RESPONSE TO NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiff Wael Muhammad Bazzi respectfully submits this response to Defendants’ Notice

of Supplemental Authority, ECF No. 23, which addressed the United States District Court for the

District of Columbia’s memorandum opinion in Rakhimov v. Gacki, Mem. Op., Civ. No. 19-2554

(JEB), Dkt. No. 24. In Rakhimov, the court held that the plaintiff—a foreign national residing

outside the United States—lacked standing to assert claims under the Fifth Amendment, including

procedural due process claims, because Rakhimov “failed to establish a substantial connection to

[the United States].” Id. at 9-10. The court acknowledged that the D.C. Circuit “has not articulated

a specific test for determining whether a foreign national residing outside the United States

maintains the requisite ‘substantial connections,’” but nevertheless determined that Rakhimov

“ha[d] not established any connection to the United States, let alone a substantial one.” Id. at 9, 10

(quoting Fulmen Group v. Office of Foreign Assets Control, No. 18-2949, 2020 WL 1536341, at

*5 (D.D.C. Mar. 31, 2020) (internal quotations removed).

       In Rakhimov, the court also found that—with respect to his administrative due process

claim under the Administrative Procedure Act (“APA”)—“Rakhimov ha[d] been provided with
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sufficient information regarding the ‘basis’ for his designation such that he may meaningfully

participate in the reconsideration process.” Id. at 14. The court found it “well-established . . . that

the APA does not require OFAC to provide [Rakhimov] with the classified or law-enforcement-

privileged information supporting his designation.” Id. For this reason, the court stated that it “need

not . . . impose the unprecedented remedy of mandating the issuance of an unclassified summary

or allowing his counsel access to classified material.” Id. at 16.

       Defendants argue that Rakhimov is relevant to this Court’s consideration of Bazzi’s

Amended Complaint because Bazzi’s pleading does not allege “any factual allegations that could

plausibly support a finding that [he] has substantial connections, let alone substantial connections

with the United States.” Defs. Notice of Suppl. Authority, ECF No. 23, at *2. Defendants contend

that Rakhimov is also relevant to “resolving [Bazzi’s] assertion that OFAC needed to provide him

an unclassified summary” noting that, “[a]s in Rakhimov, the Court here should decline to grant

such ‘unprecedented’ relief.” Id. at 2, 3.

       Bazzi refers the Court to the D.C. Circuit’s instruction that courts “need not decide whether

[plaintiffs] are entitled to constitutional protections” where, “even assuming that they are, they

have received all the process that they are due under our precedent.” Jifry v. F.A.A., 370 F.3d 1174,

1183 (D.C. Cir. 2004). This Court has comported with this command and has abstained from

“reach[ing] the antecedent question of whether Plaintiffs are entitled to the protections of the Due

Process Clause” where the court has determined that the notice provided comports with due

process requirements. Fares v. Smith, 249 F. Supp. 3d 115, 122 (D.D.C. 2017); see also Joumaa

v. Mnuchin, Mem. Op., No. 17-2780 (TJK) at *20 (D.D.C. Apr. 10, 2019); Kadi v. Geithner, 42 F.

Supp. 3d 1, 28 (D.D.C. 2012) (finding that “if the jurisdictional facts ‘are inextricably intertwined

with the merits of the case,’ the issue of standing need not be conclusively resolved, but instead




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the court should ‘defer its jurisdictional decision until the merits are heard.’”). In Rakhimov, the

court appears to have acted inconsistent with Jifry’s instruction.

          Bazzi also notes that the court’s finding that the APA “does not require OFAC to provide

[a designated person] with the classified or law-enforcement-privileged information supporting his

designation” is in apparent contradiction to a “fundamental tenet of administrative law,” as

identified in Tourus Records v. DEA. In that case, the D.C. Circuit held “that an agency’s failure

to set forth its reasons for a decision constitutes arbitrary and capricious agency action for purposes

of the APA,” at least where the underlying administrative record or any other agency disclosures

fails to adequately disclose the basis for the agency’s action. Tourus Records v. DEA, 259 F.3d

731, 736 (D.C. Cir. 2001) (citing Roelofs v. Sec. of the Air Force, 628 F.2d 594, 599 (D.C. Cir.

1980)).

          In Bazzi’s case, every finding in the “Basis for Determination” section of OFAC’s

evidentiary memorandum compiled in support of its decision to designate Bazzi under E.O. 13224,

and disclosed to Bazzi, is redacted. This leaves Bazzi only with OFAC’s legal determination that

he meets the criteria for designation under E.O. 13224; OFAC’s conclusion that Bazzi allegedly

acts for or on behalf of Mohammad Ibrahim Bazzi, a person blocked under E.O. 13224; and

OFAC’s press release announcing the designation. These disclosures alone are insufficient to

adequately disclose to Bazzi the bases for OFAC’s actions. Indeed, those bases—represented by

OFAC’s findings under the Basis for Determination section of its evidentiary memorandum in

support of its decision to designate Bazzi—have been completely withheld.

          Further, OFAC’s press release does not adequately apprise Bazzi of the bases of OFAC’s

action because, at most, that press release summarizes information that is contained in the

evidentiary memorandum that could constitute, or include, information found under sections other




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than the “Basis for Determination” section—i.e., sections that do not contain the bases for the

agency’s action. Moreover, OFAC’s press release does not link its allegations to the portions of

the evidentiary memorandum to which they relate. This leaves Bazzi in a position of guessing what

in OFAC’s press release is relevant to the agency’s action. Therefore, OFAC’s press release, as

well as the other disclosures it has made in this matter thus far, are inadequate to apprise Bazzi of

the bases for his designation. Accordingly, following the holding in Rakhimov to not mandate the

provision of some alternative mean—such as an unclassified summary—to apprise Bazzi of the

bases for his designation would be contrary to a fundamental tenant of administrative law and

would permit the agency to take arbitrary and capricious action in violation of the APA. Id.



May 14, 2020                                                  Respectfully submitted,

                                                              /s/ Erich C. Ferrari
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